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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                             CR 1:15-107

DANIEL WALTER WADE, JR.




                ORDER ON MOTION FOR LEAVE OF ABSENCE



        Andrew M. Magruder, having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

        IT IS HEREBY ORDERED THAT Andrew M. Magruder be granted leave

of absence for the following periods: June 1, 2016 through June 3, 2016; June 27,

2016 through July 1, 2016; and September 22, 2016 through September 23,

2016.

        This ^T^* day of May, 2016.



                                         HONORABLE J. RANDAL HALL
                                         United-States District Judge
                                        "Southern District of Georgia
